Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 1 EXHIBIT
                                                                     of 23   C
                             PageID #: 65
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 2 of 23
                             PageID #: 66
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 3 of 23
                             PageID #: 67
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 4 of 23
                             PageID #: 68
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 5 of 23
                             PageID #: 69
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 6 of 23
                             PageID #: 70
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 7 of 23
                             PageID #: 71
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 8 of 23
                             PageID #: 72
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 9 of 23
                             PageID #: 73
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 10 of 23
                              PageID #: 74
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 11 of 23
                              PageID #: 75
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 12 of 23
                              PageID #: 76
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 13 of 23
                              PageID #: 77
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 14 of 23
                              PageID #: 78
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 15 of 23
                              PageID #: 79
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 16 of 23
                              PageID #: 80
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 17 of 23
                              PageID #: 81
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 18 of 23
                              PageID #: 82
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 19 of 23
                              PageID #: 83
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 20 of 23
                              PageID #: 84
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 21 of 23
                              PageID #: 85
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 22 of 23
                              PageID #: 86
Case 1:24-cv-00246-CEA-CHS   Document 1-10   Filed 07/23/24   Page 23 of 23
                              PageID #: 87
